                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                   No. 5:12-CV-714-D


LOUSHONDA MYERS,                                )
                                                )
                                Plaintiff,      )
                                                )
                    v.                          )               ORDER
                                                )
THE STATE OF NORTH CAROLINA,                    )
et al.,                                         )
                                                )
                                Defendants.     )


        On November 8, 2013, pro se plaintiff filed a motion for access to pacer "in order to file

documents in the above civil suit" [D .E. 181]. Plaintiff has access to the CMIECF system to review

the court's docket and her case through the public access terminals in the clerk's office. However,

the rules of this court prohibit plaintiff from electronic filing with this court and state that:

        Rule 5.1 Filing and Service of Papers

        (b) Registered User.

        Only an attorney who is registered in CMIECF may file documents electronically.
        Registration constitutes written consent to service of all documents by electronic
        means as provided by the Federal Rules and the Policy Manual.

        (f) Exceptions to Electronic Filing.

       Documents filed by a party who is not represented by an attorney permitted to
       practice in the Eastern District of North Carolina and registered in CMIECF, and
       those documents listed in Section H of the Policy Manual, shall be filed in paper, and
       are excluded from electronic filing. Any document filed in paper that is not exempt
       pursuant to this section must be accompanied by a motion for leave to file the
       document and a proposed order. When filed in paper form, the document must
       contain the original signature of the attorney or each unrepresented party, and must
       be served upon opposing parties as provided in Fed. R. Civ. P. 5(b).

See Local Civil Rule 5.1, EDNC.




           Case 5:12-cv-00714-BO Document 186 Filed 01/16/14 Page 1 of 2
Plaintiff's motion for access to pacer to file electronically is DENIED.

SO ORDERED. This Jk day of January 2014.




                                              Chief United States District Judge




                                         2


  Case 5:12-cv-00714-BO Document 186 Filed 01/16/14 Page 2 of 2
